                    3:19-cr-30065-SEM-TSH # 26                 Page 1 of 1                                                E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                                   Tuesday, 12 May, 2020 07:26:38 PM
                                                                                                 Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Central District
                                                  __________  Districtof
                                                                       ofIllinois
                                                                          __________


                  United States of America                        )
                             Plaintiff                            )
                                v.                                )      Case No.   3:19-cr-30065
                        Scott A. Young                            )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Scott A. Young                                                                                                      .


Date:          05/12/2020                                                                   /s/ William L. Vig
                                                                                            Attorney’s signature


                                                                                       William L. Vig, IL #6284192
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